Case 2:09-md-02047-EEF-MBN Document 22553-2 Filed 02/04/20 Page 1 of 9




                    Exhibit B
Case 2:09-md-02047-EEF-MBN Document 22553-2 Filed 02/04/20 Page 2 of 9
Case 2:09-md-02047-EEF-MBN Document 22553-2 Filed 02/04/20 Page 3 of 9
Case 2:09-md-02047-EEF-MBN Document 22553-2 Filed 02/04/20 Page 4 of 9
Case 2:09-md-02047-EEF-MBN Document 22553-2 Filed 02/04/20 Page 5 of 9
Case 2:09-md-02047-EEF-MBN Document 22553-2 Filed 02/04/20 Page 6 of 9
Case 2:09-md-02047-EEF-MBN Document 22553-2 Filed 02/04/20 Page 7 of 9
Case 2:09-md-02047-EEF-MBN Document 22553-2 Filed 02/04/20 Page 8 of 9
Case 2:09-md-02047-EEF-MBN Document 22553-2 Filed 02/04/20 Page 9 of 9
